      Case 0:24-cv-60279-JEM Document 7
                                      3 Entered on FLSD Docket 04/08/2024
                                                               02/20/2024 Page 1 of 2
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AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court           Southern District Of Florida (Ft. Lauderdale)                      on the following
      G
      ✔ Trademarks or         G Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
    0:24-cv-60279-JEM                      2/18/2024                            Southern District Of Florida (Ft. Lauderdale)
PLAINTIFF                                                                 DEFENDANT
 MUTTY PAWS RESCUE INC. et al                                               MUTTY PAWS, INC



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 5074389

2 98/370955

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                                        Format m/d/yyyy
                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 VOLUNTARY DISMISSAL/ FINAL ORDER DE#6 Attached                                  C.Quinones                 4/8/2024




CLERK                                                      (BY) DEPUTY CLERK                                            DATE
Angela E. Noble                                              Nicole Cubic                                                      2/20/2024

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Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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